                       Case 1:12-cr-00191-WKW-CSC Document 54 Filed 11/25/13 Page 1 of 6
At) 2450      (Rev 09/I1) Judgment in a Criminal Case
0             SliI 1



                                          UNITED STATES DISTRICT COURT
                                                        MIDDLE DISTRICT OF ALABAMA

              UNITE[) STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                  V.

                    TRAVIS EUGENE TEW                                              Case Number: 1 :12cr191-02-WKW

                                                                                   USM Number: 14470-002

                                                                                   Carly Wilkins
                                                                                   Detndaiii's Attiiie
TIIF DEFENDANT:
     Icaded guilty w comis)            1 of the Indictment on 07115/2013
Ll pleaded 11010 contcimdeie to coun t(s
    which was accepted y the court.
    Was found guilty on Count(s)
    after C pica ol not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                             Offense Ended           Count

 26:5861(d)                        Possession of an Unregistered Firearm                                        04/30/2010              1




E Sec additional count(a) on page 2

      Time defendant is sentenced as provided in pages 2 through 6 01'1111S judgment, The sentence is imposed pursuant 10 the
Sentencing Rclurni J\ci Of 1984.
El iThe defendant has been found not guilty on count(s)

     omit(s) 2 and 4                                      El is      are dismissed on the irmohon of the Ijniicd Stales.

         It is ordered that the defendaut
                                defendant oust notify the United States altorlicy for this district ' ithum 10 days of any ch mic of rianic, residence
ormailinc addi-ess until all fines, restitution, costs, and special assessments nnposed by this judgment are fully paid. ifordered to pay rcstitulioi
the detendant inm.ist notify the court and United Stales attorney ot material changes in economic circumstances.

                                                                         11/12/2013
                                                                          Di • i1' ri oi1ioc ol Jiilgiiiieii




                                                                         ....      ..              c
                                                                           Signature of Judge


                                                                         W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                          Name oiJudgc                                 Tille 01
                                                                                                                              Judge
                            Case 1:12-cr-00191-WKW-CSC Document 54 Filed 11/25/13 Page 2 of 6
AU 215R           (Rev. 09/1 1) Judgrnnt ma Criminal Case
V1                Sheet 2    1mpraon1neL1

                                                                                                                           Judgment Page: 2of6
     DEFENDANT: TRAVIS EUGENE TEW
     CASE NUMBER: 112cr19102-WKW


                                                                       IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:

         18 Months. This sentence shall run concurrently with the sentence imposed in Circuit Court of Houston County, Alabama,
                    Case No. CC-2010-941.


               The court makes the following recommendalions to the Bureau of Prisons:

         The Court recommends that defendant be designated to a facility where intensive drug treatment is available.



               The defendant is remanded to the custody of the United States Marshal.

           Ll The defendant shall surrender to the United States Marshal for this district:

               fl at                                .            am.      fl p.m.         on

               El as notified by the United States Marshal.

               The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

               El before                    on

               Ll as notified by the United States Marshal.

               Ll as notified by the Probation or Pretrial Services Office.



                                                                              RETURN

     I have executed this judgment as follows:




               Defendant delivered on                                                               to

     a                                              -       -- , with a certified copy of this judgment.



                                                                                                              UNITED STATES
                                                                                                                     STATUS MARSHAL


                                                                                     By
                                                                                                           DEPUTY UNITED STATES MARSHAL
                             Case 1:12-cr-00191-WKW-CSC Document 54 Filed 11/25/13 Page 3 of 6
AO 24B            (Ray. 091 ) . idginant in a (riniinid Cac
vi                 Sheet 3    Supervocd Release


 DEFENDANT: TRAVIS EUGENE TEW                                                                                                Judgniant Page: 3 of 6

 CASE NUMBER: 1:12cr191-02-WKW
                                                              SUPERVISED RELEASE
     Upon release fl-nm imprisonment, the defendant shall be on supervised release for a term of:
     3 Years


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons,
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
            The above drug testin g condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. Check. (fapp/!cihlc)

            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. ((hack. rfapp/;cah/e)

            The defendant shall cooperate in the collection of DNA as directed by the probation officer. Check. Ripp/icahle.)

            The defendant shall comply with the requirements of the Sex Offender Re gistration and Notification Act (42 U.S.C. § 16901, et seq.)
            as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
            works, is a student, or was convicted of a qualifying offense. Check, ,Japphcable)

     LI The defendant shall participate in an approved program for domestic violence. (Check, ifap1,hcab/e.)
         If this jud gment imposes a fine or restitution, it is a condition of supervised release that the defendant pa y in accordance with the
 Schedule of Pa'méhts sheet of this judgment.
                The defendant must comply with the standard conditions that ha'e been adopted by this court as well as with any additional condition
 oil         attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
       I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)     the defendant shall support his or her dependents and meet other family responsibilities;
      5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
      6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)     the defendant shall not associate with any, persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation ofany
             contraband observed in plain view of the probation officer;
     11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforceimnt officer;
     12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law ent'orcemnt agency without the
             permission of the court: and

     13)     as directed by the probation officer, the defendant shall noti' third parties of risks that may be occasioned by the defendant's criminal
             record or personal history orcharacteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant s compliance with such notification requirement.
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vi             Shem 3C - Supervised Rcleasc


 DEFENDANT: TRAVIS EUGENE TEW                                                                               Judgment Page: 4 o16

 CASE NUMBER: 1:12cr191-02-WKW

                                             SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall participate in a program of drug testing administered by the probation office for substance abuse, which
     may include testing to determine whether he has reverted to the use of drugs. Defendant shall contribute to the cost of
     any treatment based on ability to pay and the availability of third-party payments.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
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AO 24513       (Rev. 09/[ 1) .ludgmcnl UI a Criminal Case
vi             Shed 5 - Criminal Monciar y Penalties

                                                                                                                          Judgment Page: 5 o16
     DEFENDANT: TRAVIS EUGENE TEW
     CASE NUMBER: 1:12cr191-02-WKW
                                                   CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                           Fine                              Restitution
 TOTALS              S 100.00                                            5                                   S $0.00


       The determination of restitution is deferred until                       An Amenc/ed.Juclgmenl in a Criminal Case (ilO 2450) will be entered
       after such determination.

       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       lithe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
       before the United States is paid.

 Name of Payee                                                       Total Loss*                 Restitution Ordered Priority or Percentage




 TOTALS                                                                                 $0.00                     $0-00



        Restitution amount ordered pursuant to plea agreement $

        The defendant must pay interesi oil             and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.0 § 3612(f). All of the payment options oil            6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

            the interest requirement is waived for the          E fine       E restitution.

        E the interest requirement for the             L fine    E restitution is modified as follows:


 * Findings for the total annunt of losses are required under Chaers 109A, 110, I bA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 24513         (Rev 09/11) Judgment III a Criminal Case
V1            Sheer 6— Schedule at Paymena

                                                                                                                         Judgment Page: 6 o16
 DEFENDANT: TRAVIS EUGENE                                                                              TEW
 CASE NUMBER: 1:12cr191-02-WKW


                                                             SCHEDULE OF PAYMENTS

 Havin g assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A          Lump sum payment of S 100.00                            due immediately, balance due

            F7       not later than                                     , or
            U        in accordance           L C,           lJ 0,   L     L, or   Lj F below; or

 B     fl Payment to begin immediately (may be combined with                      C,      U D, or       F below); or

 C     F1 Payment in equal                        (e g., weekly, monthly, quarterly) installments of $                           over a period of
                       (e.g., months cm' years), to commence                       (e.g, 30 or 60 days) after the date of this judgment; or

 D     F Payment in equal                    -- (e.g., weekly. monthly, quarterly) installments of $                  -      over a period of
                         (e.g., months or vecms), to commence                     'e.g., 30 or 60 dos) after release from imprisonment to a
           term of supervision; or

 E          Payment during the term of supervised release will commence within                  (e.g, 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     El Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made Lu the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of crininal monetary penalties is due during
 imprisonment. All crininal monetary
                               penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 U Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendani number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 Li The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cosi(s):

 El The defendant shall forfeit the defendant's interest in the following property to the United States:
       A cylindrical firearm silencer made from PVC plastic
       A cylindrical firearm silencer made from stainless steel


 Payments shall be applied in the following order: (1) assessment. (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (S) costs, including cost of prosecution and court costs.
